Case 2:04-cr-20167-.]PI\/| Document 59 Filed 05/18/05 Page 1 of 3

 
  

IN THE UNITED STATES DISTRICT COURT
3"“19~OR THE WES'I`ERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Page|D 73

 

 

UNHED srA'rEs oF AMERICA

v. Case No. 2104cr20167-01-M1

A DRIAN BROOM

 

 

l\/I()TION TO DECLARE THE DEFENDANT INDIGENT
FOR PURPOSES OF APPEAL

 

COMES NOW the Defendant, Adrian Broorn, by and through his attorney ot`record,

Marvin E. Ballin, who Would move the Court to find him indigent for appellate purposes In

support thereof would show unto the Court that he does not have the funds or assets available to

pay for appellate counsel or the court reporter fees necessary for the transcripts for the appeal.

The Defendant asks that he be declared indigent for all appellate purposes

WHEREFORE, PREMISES CONSIDERED, the Det`endant prays that he be declared

Respectfully submitted,

 

 

BALLI’N, 1341an & FISHMAN, P.C.

Marvin E»__Ballin, Esq.

200 Jefferson Avenue, Suite 1250

Mernphis, TN 38103
(901) 525-6278

Counsel for Defendant

1

This document entered on the docket ca m compliance
with Hu|e 65 ami/or 32(!3 )FHCrP on ix 'Of)

 

Case 2:04-cr-20167-.]PI\/| Document 59 Filed 05/18/05 Page 2 of 3 Page|D 74

CERTIFICATE OF SERVICE

I hereby certify that a true and correct Copy ofthe foregoing has been served upon Scott.
Leary, Esq., Assistant United_States Attorney, 167 North Main Street, Eighth Floor, Memphis,
Tennessee 38103, via United States mail, first class postage prepaid, or via hand delivery, this

the 16th day of May, 2005,
4a1/cg a@c\
\/) -

\I

   

UNITED sTATE DRISTIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20167 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 .lefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

